                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



Dawn Brenner and Kathleen Brenner, as co-trustees
for the heirs and next of kin of Dylan Brenner,

              Plaintiffs,                             Case No. 18-cv-02383 (NEB/ECW)

       v.                                         FOURTH AMENDED COMPLAINT
                                                  AND JURY DEMAND
Danielle Sue Asfeld, in her individual capacity,
Christina Leonard, in her individual capacity,
Kristina Ryan f/k/a Kristina Bauman, in her individual capacity,
Todd Leonard, in his individual and official capacities,
Rebecca Lucar, in her individual capacity,
Russell Denny, in his individual capacity,
Wes Graves, in his individual capacity,
James Rourke, in his individual capacity,
John Reich, in his individual capacity,
Travis Lindstrom, in his individual capacity,
MEnD Correctional Care, PLLC, and Sherburne County,

              Defendants,


       For their Fourth Amended Complaint, Dawn Brenner and Kathleen Brenner, on

behalf of the heirs and next of kin of Dylan Brenner, hereby state and allege as follows:

       1.     This is an action for money damages for the wrongful death of Dylan

Brenner (“Dylan”), as the direct and proximate result of the deliberate indifference to his

serious medical needs and negligence of the Defendants, as set forth herein.

       2.     Dylan’s wife, Dawn Brenner (“Dawn”), and biological mother, Kathleen

Brenner (“Kathleen”), bring this action on behalf of Dylan’s heirs and next of kin. They

were appointed co-trustees under a January 23, 2018 Order entered by Sherburne County
Judge Sheridan Hawley, which was attached to Plaintiff’s Complaint as Exhibit A. Dawn

and Kathleen are collectively referred to herein as “Plaintiffs.”

       3.     Danielle Asfeld was at all times material hereto a nurse employed by

MEnD Correctional Care, PLLC (“MEnD”), who worked at the Sherburne County Jail.

She is sued in her individual capacity.

       4.     Kristina Ryan f/k/a Kristina Bauman was at all times material hereto a

nurse employed by MEnD, who worked at the Sherburne County Jail. She is sued in her

individual capacity.

       5.     Christina Leonard was at all times material hereto a nurse employed by

MEnD, who worked at the Sherburne County Jail. She is sued in her individual capacity.

       6.     Todd Leonard, M.D. was at all times material hereto a medical doctor, the

sole member of MEnD, and the medical director/supervisor at the Sherburne County Jail

with final policymaking authority with respect to the medical care received by

inmates/detainees at the Sherburne County Jail. He is sued in his individual and official

capacities.

       7.     MEnD is a professional limited liability company with its registered office

located in Waite Park, Minnesota and its principal place of business located in Sartell,

Minnesota. At all times material hereto, MEnD fulfilled a public function and acted in

concert with state actors, including Sherburne County, by providing medical care to

inmates and detainees at the Sherburne County Jail. As a result, MEnD and its

employees, including but not limited to Danielle Asfeld, Kristina Ryan f/k/a Kristina

Bauman, Christina Leonard, and Todd Leonard, M.D., acted under color of state law for


                                              2
purposes of 42 U.S.C. § 1983.

       8.     Rebecca Lucar was at all times material hereto a corrections officer

employed by Sherburne County, and working at the Sherburne County Jail under color of

state law. She is sued in her individual capacity.

       9.     Russell Denny was at all times material hereto a corrections officer

employed by Sherburne County, and working at the Sherburne County Jail under color of

state law. He is sued in his individual capacity.

       10.    Wes Graves was at all times material hereto a corrections officer employed

by Sherburne County, and working at the Sherburne County Jail under color of state law.

He is sued in this individual capacity.

       11.    James Rourke was at all times material hereto a corrections officer

employed by Sherburne County, and working at the Sherburne County Jail under color of

state law. He is sued in his individual capacity.

       12.    John Reich was at all times material hereto a corrections officer employed

by Sherburne County, and working at the Sherburne County Jail under color of state law.

He is sued in his individual capacity.

       13.    Sgt. Travis Lindstrom was at all times material hereto a corrections

sergeant employed by Sherburne County, and working at the Sherburne County Jail

under color of state law. He is sued in his individual capacity.

       14.    Defendant Sherburne County is a duly incorporated municipal entity under

the laws of Minnesota, and was at all times material hereto the entity charged with

control and supervision over personnel working at the Sherburne County Jail.


                                             3
       15.    At all times material hereto, MEnD and Sherburne County engaged in a

joint venture and worked in concert with one another to provide medical care to the

inmates and detainees at the Sherburne County Jail.

       16.    The medical staff employed by MEnD, but working at the Sherburne

County Jail, are indistinguishable from Sherburne County Jail employees from the

perspective of inmates and detainees, provide services under the authority of Sherburne

County, and the inmates and detainees are provided no choice as to from whom they can

receive medical services at the Sherburne County Jail.

       17.    Despite contracting with MEnD at all times material hereto, Sherburne

County owed a nondelegable duty of care to ensure that inmates/detainees at the

Sherburne County Jail received legally sufficient medical care.

       18.    Upon information and belief, all Defendants resided in Minnesota at all

times material hereto, and continue to reside in Minnesota today.

       19.    Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1983 and 1988, the

Eighth and Fourteenth Amendments to the United States Constitution, and 28 U.S.C. §§

1331 and 1343(3). The aforementioned statutory and constitutional provisions confer

original jurisdiction over this action. This Court has supplemental jurisdiction over

Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367.

                             Dylan’s Serious Medical Needs

       20.    Dylan was 31 years old at all times material hereto.

       21.    Following his graduation from Burnsville High School in 2004, Dylan

joined the U.S. Army and became an Army Infantry Solider.


                                             4
        22.   Dylan served three combat tours of duty in Iraq.

        23.   Dylan was honorably discharged from the Army in February 2013.

        24.   Dylan married Dawn in November 2008, and they subsequently had two

biological children together, AB and TB.

        25.   Dylan suffered from severe physical and mental health issues following his

combat tours, including traumatic brain injury, bipolar disorder, and PTSD.

                    Dylan’s First Detention at Sherburne County Jail

        26.   Dylan was first detained at the Sherburne County Jail in July and August

2016.

        27.   MEnD provided Dylan with medical care in July and August 2016 at the

Sherburne County Jail.

        28.   Dylan was detained at the Sherburne County Jail on suspicion of felony

charges beginning on or around July 27, 2016.

        29.   Dylan was charged with serious felonies in Sherburne County District

Court on July 28, 2016.

        30.   Dylan remained detained at the Sherburne County Jail following the July

28, 2016 charges.

        31.   Dylan was booked into the Sherburne County Jail with the following

prescribed medications, which were inventoried by MEnD nurse Jennie Thompson

(“Thompson”) on July 28, 2016: (a) venlafaxine, (b) lamotrigine, (c) trazodone, (d)

lurasidone, (e) gabapentin, (f) cyproheptadine, and (g) haloperidol.

        32.   Venlafaxine is for the treatment of depression and anxiety.


                                             5
       33.    Lamotrigine is used for the treatment of bipolar disorder.

       34.    Trazodone is an antidepressant used to assist with sleep.

       35.    Lurasidone is an antipsychotic used in the treatment of bipolar disorder,

among other serious mental illnesses.

       36.    Gabapentin is an anticonvulsant used for the treatment of seizures and a

variety of psychiatric disorders.

       37.    Cyproheptadine is used to assist with sleep and nightmares.

       38.    Haloperidol is an antipsychotic used to treat, among other things, bipolar

disorder and schizophrenia.

       39.    Thompson identified the following International Classification of Diseases

(ICD) diagnoses and codes for billing with respect to Dylan’s condition as she diagnosed

it: “ICD 10-R69 Illness, unspecified” and “ICD 9-799.9 “Other Ill-defined caused of

morbidity and mortality.”

       40.    On July 28, 2016, the Sherburne County Jail placed Dylan in administrative

maximum security segregation.

       41.    Dylan was provided the following reason for his placement in

administrative maximum security segregation: “For the safety and security of the facility

and for your safety, due to your Assaultive History and at your request.”

       42.    Dylan’s placement in administrative maximum security segregation meant

that he would be placed in a cell alone for 23 hours per day.

       43.    Dylan’s status in administrative maximum security segregation was to be

reviewed “on a regular basis by Jail Administration and Jail Medical Staff.”


                                             6
       44.      On July 29, 2016, MEnD nurse Mary Brown (“Brown”) met with Dylan

and completed a “Suicide Risk Screening Form”

       45.      At their meeting, Dylan denied having current suicidal thoughts; yet Brown

did not simply take Dylan at his word. On the July 29, 2016 Suicide Risk Screen Form,

Brown noted that there were “Current Suicidal Remarks/Actions.”

       46.      Brown recommended on the Suicide Risk Screening Form that Dylan be

put on a 15-minute special mental health watch.

       47.      On July 29, 2016 at 4:55 p.m., Brown also completed a “Special

Precautions/ Management” form for Dylan.

       48.      Brown recommended on the Special Precautions/Management form that

Dylan be placed in a Kevlar suit and receive only a Kevlar blanket and finger food, all

done in order to limit the risk of Dylan committing suicide.

       49.      Under the Special Precautions/Management form recommendations, Dylan

was: (a) to be monitored on a 15-minute special mental health watch, (b) to receive full

suicide precautions, and (c) follow up daily with a nurse or other mental health

practitioner.

       50.      At 5:00 p.m., Brown communicated to Sherburne County Jail correctional

staff that Dylan needed to be placed in the Kevlar suicide prevention gown.

       51.      At or around 5:00 p.m., Dylan was transferred to Booking Holding Cell #5

(“BH-5”), was placed in the Kevlar suicide prevention gown, and remained in BH-5

subject a 15-minute special mental health watch.

       52.      Upon information and belief, prisoners with special medical needs,


                                              7
particularly those who are considered suicidal, are maintained in Booking Holding Cells

at the Sherburne County Jail so that they can receive closer monitoring by Sherburne

County Jail staff.

       53.    Dylan remained in BH-5 on July 30, 2016.

       54.    On July 30, 2016, MEnD nurse Michelle Skroch (“Skroch”) conducted a

mental health review of Dylan at approximately 8:00 p.m.

       55.    At their meeting, Dylan expressed that he was “doing much better” and had

no “thoughts of self-harm.” Yet Skroch did not simply take Dylan at his word.

       56.    On July 30, 2016, Skroch recommended that Dylan remain in the Kevlar

gown, be provided with the Kevlar blanket, and receive full suicide precautions,

including but not limited to the 15-minute special mental health watch.

       57.    Skroch identified the following ICD diagnoses and codes for billing with

respect to Dylan’s condition as she diagnosed it: “ICD 10-R45.851 Suicidal Ideations,”

“ICD 9-300.9 Unspecified nonpsychotic mental disorder,” and “9-V62.84 Suicidal

Ideation.”

       58.    Dylan remained in BH-5 on July 31, 2016.

       59.    On July 31, 2016, MEnD nurse “J. Thompson” conducted a mental health

review of Dylan at approximately 9:50 a.m. or 9:50 p.m.

       60.    J. Thompson observed that Dylan was expressing no thoughts of self-harm.

       61.    Still, J. Thompson found it necessary to recommend that Dylan remain in

the Kevlar gown, be provided with the Kevlar blanket, and receive full suicide

precautions, including but not limited to the 15-minute mental health watch.


                                            8
        62.   On August 1, 2016, at approximately 7:30 a.m., MEnD mental health

practitioner Michael Robertson, Psyd. LP. (“Robertson”) conducted a mental health

review of Dylan, in addition to completing Dylan’s “Initial Mental Health

Appraisal/Evaluation.”

        63.   Robertson noted that Dylan was receiving psychiatric medications for

PTSD.

        64.   Robertson recommended that Dylan be moved to the general population but

subject to a 30-minute special mental health watch, which requires a more rigorous

assessment of the detainee/inmate than the regular 30-minute welfare checks.

        65.   Robertson also recommended that a mental health follow up of Dylan be

conducted within less than 10 days.

        66.   Robertson also recommended that Dylan be removed from the Kevlar gown

and blanket, and be provided with the standard jail uniform.

        67.   Robertson provided his recommendations to an unknown Sherburne County

Jail “Classification Sergeant,” who completed a “Sherburne County Jail Segregation

Review” on August 1, 2016 at approximately 10:30 a.m.

        68.   Dylan’s cell at that time was identified as “BH5.”

        69.   The reason provided for Dylan’s maximum security segregation was

“MAX-Gown.”

        70.   Upon information and belief, MAX-Gown means that Dylan was required

to wear the Kevlar gown for suicide precautions.

        71.   The Classification Sergeant disagreed with Robertson’s recommendations,


                                            9
and determined that Dylan should remain in administrative maximum security

segregation in Max-Gown.

        72.    The Classification Sergeant checked two “yes” factor boxes on the

Sherburne County Jail Segregation Review form, determining that Dylan’s “reason for

initial placement into segregation remain[ed] valid” and that Dylan “pose[d] a threat to

[himself]”.

        73.    With respect to these factor boxes, the Sherburne County Jail Segregation

Review states that “If any of the above factors are marked ‘YES’, the inmate/detainee

must continue their existing classification status, unless the Jail Commander, or designee,

determines otherwise. If all factors are marked ‘NO’, the inmate/detainee may be re-

classified.”

        74.    As a result, the Classification Sergeant did “not recommend [Dylan’s]

removal from [his] current segregation status.”

        75.    The Classification Sergeant did not recommend a removal from the Max-

Gown status.

        76.    An unknown Sherburne County Jail Classification administrator agreed

with the recommendations of the Classification Sergeant, and determined that Dylan

should remain in administrative maximum security segregation in BH-5, subject to Max-

Gown.

        77.    Upon information and belief, Dylan remained in the Kevlar gown in BH-5

on August 1, 2016 as a result of this August 1, 2016 Sherburne County Jail Segregation

Review, and subject to at least a 30-minute special mental health watch.


                                            10
       78.    Plaintiffs are presently aware of no records reflecting that the Sherburne

County Jail ever removed Dylan from the Kevlar gown prior to his August 1, 2016

departure from the facility.

       79.    On August 1, 2016, Dylan was transferred from the Sherburne County Jail

to the Wright County Jail due to an outstanding warrant.

       80.    An “Inmate Transfer Form” was completed on August 1, 2016 at 8:21 a.m.

or p.m. by unknown employees of the Sherburne County Jail.

       81.    The Inmate Transfer Form denoted that Dylan was in administrative

segregation and that he had special needs.

       82.    The Inmate Transfer Form denoted that Dylan was presently on a 30-

minute special watch, and that Dylan was in maximum security administrative

segregation “[d]ue to his assaultive history, comments made at arrival, and MH issues.”

       83.    The Inmate Transfer Form denoted that Dylan had mental health concerns

for which he was receiving prescribed medications.

       84.    The Sherburne County Jail Medical Unit – Medication Administration

Records reflected that Dylan received the following medications on a daily basis from

July 29, 2016 through August 1, 2016 during his detention at Sherburne County:

Venlafaxine, Lurasidone, Lamotrigine, Gabapentin, and Trazodone.

       85.    Dylan’s history of serious mental health concerns were well documented in

the Sherburne County Jail and MEnD records over that July/August 2016 time period,

which the Defendants had access to at all times material hereto.

       86.    The Sherburne County Jail and MEnD records documented that Dylan was


                                             11
assessed as suicidal, despite denying being suicidal, and placed on suicide watch at the

Sherburne County Jail from July 29, 2016 through August 1, 2016.

       87.     Dylan’s history of PTSD, and his prescription for medications to treat

PTSD, were documented in the Sherburne County Jail and MEnD records from July and

August 2016.

             Dylan’s Serious Medical Needs are Ignored on October 6, 2017

       88.     On Friday, October 6, 2017, a jury found Dylan guilty on the same serious

felony charges for which Dylan had previously been detained at the Sherburne County

Jail during July and August 2016.

       89.     Following a guilty verdict in a criminal matter, Dylan was taken into

custody, detained, and booked into the Sherburne County Jail in the early evening on

October 6, 2017.

                                       Officer Lucar

       90.     Rebecca Lucar (“Lucar”) is a Sherburne County Jail classification officer,

who completed an Intake Interview of Dylan at 6:36 p.m. on October 6, 2017.

       91.     Lucar knew that Dylan was being detained for his conviction on serious

felony charges.

       92.     As part of Lucar’s duties as an Intake Officer, Lucar had access to and was

required to review the medical and administrative records in Sherburne County’s

possession related to Dylan’s prior detentions/incarcerations at Sherburne County.

       93.     Lucar was aware of Dylan’s serious medical needs, risk of self-harm, and

the requirement that Dylan be placed in administrative maximum security segregation


                                             12
pending a segregation review by Sherburne County Jail Administration.

       94.    Lucar learned during her intake interview with Dylan that Dylan was

prescribed medical cannabis for his PTSD.

       95.    Based upon a review of Brenner’s medical and jail records, Lucar knew that

Dylan departed Sherburne County Jail on August 1, 2017, subject to 30-minute special

mental health checks.

       96.    Lucar knew that the requirement that Brenner receive 30-minute special

mental health checks was never lifted by medical or administrative personnel at the

Sherburne County Jail.

       97.    The purpose of Dylan’s continued placement in BH-5 was to provide Dylan

with closer monitoring than he would receive in other units, due to his established high

risk for self-harm.

       98.    Upon information and belief, Sherburne County Jail Policy required that

Lucar return Dylan to BH-5 subject to at least 30-minute special mental health checks

until his status was reviewed and approved by a Sherburne County Administrator.

       99.    Lucar described this policy in an October 7, 2017 interview she provided

regarding this matter: “Um, at the end of our conversation, I, we both exited the interview

room and I walked him down to BH-5 and explained to him that his status was gonna be

maximum until he was reviewed on Monday with Admin.”

       100.   This policy was similarly described by Sherburne Count Jail Correctional

Officer James Rourke in an October 7, 2017 investigatory interview regarding Dylan’s

death: “What I know is that he left here, last time he was here, he left in segregation, so


                                             13
he came back and he goes right to segregation.”

       101.   Lucar then classified Dylan as requiring “maximum” security for the

following reason: “For the safety and security of the facility and for your safety, left

from Max due to your assaultive history and for you leaving from max.” (emphasis

added).

       102.   Lucar knew specifically from the Sherburne County Jail Segregation

Review that Dylan was classified as needing maximum security because he posed a threat

to himself.

       103.   Lucar also knew that Sherburne County classified Dylan as needing

maximum security because he posed a threat to himself despite Dylan denying having

suicidal thoughts.

       104.   Lucar knew from her experience and training not to simply take a

detainee/inmate at his or her word when the detainee/inmate denies suicidal ideations to

the exclusion of evidence to the contrary.

       105.   The seriousness of Dylan’s guilty verdict when combined with Dylan’s

known and serious mental health history, including known suicidality at Sherburne

County Jail, placed Dylan at an extremely high risk for committing suicide; and Lucar

knew this.

       106.   Despite this knowledge, Lucar did not initiate any additional medical

evaluation of Dylan by medical staff, including but not limited to suicide risk screening,

or ensure that Dylan was receiving the previously ordered 30-minute special mental

health checks.


                                             14
      107.   Lucar merely “passed on to our nursing staff that he had PTSD and that he

had noted that he was taking medical cannabis. And they required a UA. And I don’t

know what happened after that.”

      108.   Upon information and belief, Dylan was seen by no medical personnel at

the Sherburne County Jail on the evening of October 6, 2017, despite his well-

documented and objectively serious medical needs.

                                     Nurse Bauman

      109.   MEnD/ Sherburne County nurse Kristina Ryan f/k/a Kristina Bauman

(“Nurse Bauman”) was providing health care services for the Sherburne County Jail on

the evening of October 6, 2017.

      110.   Lucar had a conversation with Nurse Bauman on the evening of October 6,

2017, whereby she informed Nurse Bauman that Dylan was being held in BH5, which is

known by ALL MEnD and Sherburne County employees working at the Sherburne

County Jail to be one of two suicide holding cells with video monitoring.

      111.   Inmates who present the highest risk for suicide are held in either BH5 or

BH6, and this is known to all MEnD and Sherburne County employees working at the

Sherburne County Jail.

      112.   Lucar informed Nurse Bauman that Dylan had PTSD and that Dylan was

taking medical cannabis, so a urinalysis (UA) was required.

      113.   Obtaining a UA from an inmate is considered an urgent medical need by

MEnD.

      114.   Lucar informed Nurse Bauman that Dylan was a suicide risk.


                                           15
        115.   Despite this knowledge, Nurse Bauman did not initiate any additional

medical evaluation of Dylan by medical staff, including but not limited to suicide risk

screening, or ensure that Dylan was receiving the previously ordered 30-minute special

mental health checks.

        116.   Nurse Bauman never even took the time to see Dylan or ensure that

someone else at MEnD did.

        117.   Given all of these circumstances, Nurse Bauman either knew or was

deliberately indifferent to the fact that Dylan was at an extremely high risk for suicide,

when Nurse Bauman failed to make any effort to ensure that Dylan was properly

screened, monitored, or placed within the Sherburne County Jail population.

        118.   Because Nurse Bauman failed to do anything for Dylan’s serious mental

health condition, Dylan was detained at the Sherburne County Jail, receiving only the

regular 30-minute well-being checks, rather than the closer medical monitoring that

Dylan required.

        119.   Upon information and belief, Bauman will likely deny most if not all of the

allegations contained in Paragraphs 111 – 118, thus creating issues of fact for trial.

                                      Nurse Leonard

        120.   MEnD/Sherburne County nurse Christina Leonard (“Nurse Leonard”) was

providing health care services for the Sherburne County Jail on the evening of October 6,

2017.

        121.   Upon information and belief, Nurse Leonard learned from Lucar that Dylan

suffered from PTSD for which he was prescribed medical marijuana.


                                             16
       122.   Medical marijuana (or cannabis) is prescribed to war veterans suffering

from PTSD, like Dylan, often to suppress suicidal feelings and behavior. Nurse Leonard

knew this.

       123.   Nurse Leonard also reviewed Dylan’s toxicology screen, and observed that

Dylan tested positive for Phencyclidine (PCP).

       124.   Nurse Leonard diagnosed Dylan as suffering from drug withdrawal.

       125.   Upon information and belief, Nurse Leonard had access to and knew from

the MEnD and/or Sherburne County Jail administrative and medical records, at a

minimum that: (a) Dylan had a history of PTSD; (b) that Dylan had a history of

suicidality; (c) Dylan had previously been subjected to close suicide monitoring at the

Sherburne County Jail despite having denied being suicidal; (d) Dylan left the Sherburne

County Jail with a classification of administrative maximum segregation and on a 30-

minute special mental health watch that had never been lifted; (e) that mental health

professionals at the Sherburne County Jail, or within MEnD, were supposed to conduct a

mental health follow-up and assessment with Dylan before the 30-minute special mental

health watch classification could be removed, but had never done so; (f) that Dylan was

receiving a number of psychiatric and other medications on a daily basis at the Sherburne

County jail during his July/August detention; and (g) that a jury had found Dylan guilty

of serious criminal felony charges on October 6, 2017, and that those were the same

charges on which Dylan was previously booked and precipitated his prior suicidal

behavior and subsequent suicidal watch.

       126.   Nurse Leonard knew that the prescription medications Dylan previously


                                            17
received at the Sherburne County Jail were for serious medical conditions.

       127.   Given these and other considerations, Nurse Leonard knew on the evening

of October 6, 2017, that Dylan was at an extremely high risk for self-harm, including

suicide.

       128.   Despite this knowledge of Dylan’s present conditions and history, Nurse

Leonard failed to even meet with Dylan, as no meeting with Dylan is reflected in her

October 6, 2017 chart note – the only note charted by Nurse Leonard related to Dylan.

       129.   Despite this knowledge of Dylan’s present conditions and history, Nurse

Leonard failed to conduct any suicide assessment of Dylan or an assessment of his

current medical needs.

       130.   Despite this knowledge of Dylan’s present conditions and history, Nurse

Leonard failed to put Dylan on any closer medical monitoring, including but not limited

to the previously prescribed and never lifted 30-minute special mental health checks.

       131.   Additionally, Nurse Leonard’s October 6, 2017 chart note fails to denote

the time at which Nurse Leonard assessed Dylan’s medical status. This lack of time is

contrary to all generally accepted medical practices and policies with respect to patient

recordkeeping.

       132.   Given all of these circumstances, Nurse Leonard either knew or was

deliberately indifferent to the fact that Dylan was at an extremely high risk for suicide,

when Nurse Leonard failed to make any effort to ensure that Dylan was properly

screened, monitored, or placed within the Sherburne County Jail population.

       133.   Because Nurse Leonard failed to do anything for Dylan’s serious mental


                                             18
health condition, Dylan was detained at the Sherburne County Jail, receiving only the

regular 30-minute well-being checks, rather than the closer medical monitoring that

Dylan required.

                                       Dr. Leonard

       134.   Nurse Leonard’s October 6, 2017 chart note was subsequently “reviewed”

by Todd Leonard, M.D. (“Dr. Leonard”) at or around October 6, 2017 at 8:59:45 P.M.

       135.   Upon information and belief, despite being Dylan’s treating physician, Dr.

Leonard never met with Dylan on the evening of October 6, 2017.

       136.   Dr. Leonard knew that medical marijuana (or cannabis) is prescribed to war

veterans suffering from PTSD, like Dylan, often to suppress suicidal feelings and

behavior.

       137.   Dr. Leonard also reviewed Dylan’s toxicology screen, and observed that

Dylan tested positive for Phencyclidine (PCP).

       138.   Dr. Leonard knew that Nurse Leonard diagnosed Dylan as suffering from

drug withdrawal, and Dr. Leonard affirmed that diagnosis.

       139.   Upon information and belief, Dr. Leonard had access to and knew, from the

MEnD and/or Sherburne County Jail administrative and medical records, at a minimum

that: (a) Dylan had a history of PTSD; (b) that Dylan had a history of suicidality; (c)

Dylan had previously been subjected to close suicide monitoring at the Sherburne County

Jail despite having denied being suicidal; (d) Dylan left the Sherburne County Jail with a

classification of administrative maximum segregation and on a 30-minute special mental

health watch that had never been lifted; (e) that mental health professionals at the


                                             19
Sherburne County Jail, or within MEnD, were supposed to conduct a mental health

follow-up and assessment with Dylan before the 30-minute special mental health watch

classification could be removed, but had never done so; (f) that Dylan was receiving a

number of psychiatric and other medications on a daily basis at the Sherburne County jail

during his July/August detention; and (g) that a jury had found Dylan guilty of serious

criminal felony charges on October 6, 2017, and that those were the same charges on

which Dylan was previously booked and precipitated his prior suicidal behavior and

subsequent suicidal watch.

       140.   Dr. Leonard knew that the prescription medications Dylan previously

received at the Sherburne County Jail were for serious medical conditions.

       141.   Given these and other considerations, Dr. Leonard knew on the evening of

October 6, 2017, that Dylan was at an extremely high risk for self-harm, including

suicide.

       142.   Despite this knowledge of Dylan’s present conditions and history, Dr.

Leonard failed to so much as even meet with Dylan or require that Nurse Leonard meet

with Dylan.

       143.   Despite this knowledge of Dylan’s present conditions and history, Dr.

Leonard failed to conduct any suicide assessment of Dylan or require that Nurse Leonard

meet with Dylan to conduct and assessment.

       144.   Despite this knowledge of Dylan’s present conditions and history, Dr.

Leonard failed to put Dylan, or require that Nurse Leonard put Dylan, on any closer

medical monitoring, including but not limited to the previously prescribed and never


                                            20
lifted 30-minute mental health checks.

       145.     Dr. Leonard knew that Nurse Leonard’s October 6, 2017 chart note failed

to denote the time at which Leonard assessed Dylan’s medical status and knew that this

lack of time is contrary to all generally accepted medical practices and policies with

respect to patient recordkeeping.

       146.     Dr. Leonard knows that all of the notes charted by the MEnD nurses he

supervises at the Sherburne County Jail are not time-stamped, and, upon information and

belief, this is done intentionally so that the propriety of MEnD’s actions cannot be easily

scrutinized by third parties.

       147.     Given all of these circumstances, Dr. Leonard either knew or was

deliberately indifferent to the fact that Dylan was at an extremely high risk for suicide,

when Dr. Leonard failed to make any effort, independently or through subordinates, to

ensure that Dylan was properly screened, monitored, or placed within the Sherburne

County Jail population.

       148.     Because Dr. Leonard failed to do anything for Dylan’s serious mental

health condition, including but not limited to properly supervising his subordinates,

Dylan was detained at the Sherburne County Jail, receiving only the regular 30-minute

well-being checks, rather than the closer medical monitoring that Dylan required.

              Dylan’s Serious Medical Needs are Ignored on October 7, 2017

                                       Officer Denny

       149.     Sherburne County Jail Correctional Officer Russell Denny (“Denny”)

completed a medical screening form for Dylan on October 7, 2017 at 8:39 a.m.


                                             21
       150.   Denny also completed a mental health screening form for Dylan on October

7, 2017 at 8:42 a.m.

       151.   As part of Denny’s duties in performing this task, Denny had access to and

was required to review the medical and administrative records in Sherburne County’s

possession related to Dylan’s current and prior detentions/incarcerations at Sherburne

County.

       152.   Upon information and belief, Denny had access to and knew from MEnD

and/or Sherburne County Jail administrative and medical records, at a minimum that: (a)

Dylan had a history of PTSD; (b) that Dylan had a history of suicidality; (c) Dylan had

previously been subjected to close suicide monitoring at the Sherburne County Jail

despite having denied being suicidal; (d) Dylan left the Sherburne County Jail with a

classification of administrative maximum segregation and on a 30-minute special mental

health watch that had never been lifted; (e) that mental health professionals at the

Sherburne County Jail, or within MEnD, were supposed to conduct a mental health

follow-up and assessment with Dylan before the 30-minute special mental health watch

classification could be removed, but had never done so; (f) that Dylan was receiving a

number of psychiatric and other medications on a daily basis at the Sherburne County jail

during his July/August detention; and (g) that a jury had found Dylan guilty of serious

criminal felony charges on October 6, 2017, and that those were the same charges on

which Dylan was previously booked and precipitated his prior suicidal behavior and

subsequent suicidal watch; and (h) that Dylan was suffering from drug withdrawal.

       153.   Denny also learned during the medical screening that Dylan was taking


                                             22
prescribed medications but did not know what they were, and that Dylan suffered from

PTSD and traumatic brain injuries.

       154.      Despite learning this information, Denny failed to make any further efforts

to determine what additional medications Dylan required for his well-being.

       155.      Denny observed during the medical screening that Dylan “seem[ed] very

agitated.”

       156.      Denny knew from his experience and training that agitation is a symptom

of drug withdrawal and the types of mental illness Dylan suffered.

       157.      Denny learned from his mental health screen of Dylan that Dylan had been

treated for a mental or emotional problem and that Dylan had a history of PTSD and two

traumatic brain injuries.

       158.      Despite this knowledge of Dylan’s present and historical serious mental

health conditions, Denny failed to initiate any review of Dylan’s status by medical

professionals.

       159.      Worse yet, Denny recommended that Dylan be placed with the general

population, subject only to routine medical monitoring.

       160.      Upon information and belief, Denny, as a non-administrator, did not have

sufficient authority to end Dylan’s 30-minute special mental health watch or move Dylan

from BH-5 into a different cell block, where Dylan would receive less intensive

monitoring by correctional staff.

       161.      Upon information and belief, the cessation of Dylan’s 30-minute special

mental health watch and Dylan’s movement from BH-5 needed to be approved by an


                                              23
administrator pursuant to an appropriate Sherburne County Jail Segregation Review; it

was understood that review could not be performed until Monday, October 9, 2017, and

Denny knew that.

       162.   Upon information and belief, Denny still improperly moved or initiated

Dylan’s movement to the Gamma Unit, where Dylan would receive a lower level of

monitoring than he needed and had been receiving in BH-5.

       163.   Upon information and belief, Denny moved Dylan from BH-5 to Gamma

Unit Cell 128 (“G128”) at 9:26 a.m.

       164.   Given all of these circumstances, Denny either knew or was deliberately

indifferent to the fact that he was placing Dylan at an increased risk of suicide.

       165.   Because Denny failed to do anything for Dylan’s serious mental health

condition, Dylan was detained in G128, receiving only the regular 30-minute well-being

checks, rather than the closer medical monitoring that Dylan required.

       166.   Upon information and belief, Sherburne County Jail administrators

attempted to conceal Denny’s failures by not interviewing Denny as part of the Sherburne

County Jail investigation into Dylan’s suicide. It is unfathomable that Denny, who

purported to take a medical and mental health assessment of Dylan on the date of his

suicide, would not be interviewed as part of such an investigation.

                                       Officer Reich

       167.   John Reich (“Reich”) was a correctional officer working in booking with

Denny on the morning of October 7, 2017.

       168.   Reich knew that Dylan was being held in BH5.


                                             24
        169.   Reich knew that Dylan had known suicidality at the Sherburne County Jail

based upon a “suicide flag” that was contained in Dylan’s electronic correctional record

keeping system, Pro Phoenix.

        170.   Specifically, the suicide flag in the Pro Phoenix system, which was present

at all times on October 6 and 7, 2017, read “Current Flag” and “Suicidal” for Dylan.

        171.   Reich knew that Dylan was a recently incarcerated veteran, which increased

Dylan’s risk for committing suicide.

        172.   Reich observed Dylan make a phone call on the morning of October 7,

2017.

        173.   Reich observed Dylan be so distraught and crying after placing that phone

call that Reich asked Sgt. Lindstrom to pull the audio recording of Dylan’s phone call.

        174.   Reich learned that Dylan’s emotional phone call was with his wife and

mother, and had previously been trained that familial disputes create an increased risk for

an inmate’s suicide.

        175.   It was unusual and not standard practice for booking officers to pull an

inmate’s phone recordings.

        176.   At his deposition, Reich described Dylan as having “went from yelling

about being a veteran to getting off the phone crying.”

        177.   Despite all of this knowledge obtained by Reich, Reich failed to initiate any

review of Dylan’s status by medical professionals or ensure that Dylan had ever been

seen by medical personnel, which Dylan had not.

        178.   Despite all of this knowledge obtained by Reich, Reich helped facilitate


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Dylan’s movement to the Gamma Unit, where Dylan would receive a lower level of

monitoring than he needed and had been receiving in BH-5.

       179.   Given all of these circumstances, Reich either knew or was deliberately

indifferent to the fact that he was placing Dylan at an increased risk of suicide.

       180.   Reich’s deposition testimony underscored his indifference to inmate suicide

at the Sherburne County Jail: “You can’t put everybody who comes in who is a veteran

and who has family issues and has had a suicidal past in a suicide gown. Because you

would have the entire facility of people in suicide gowns.”

       181.   Reich did not inform Lindstrom about the suicide flag in Dylan’s Pro

Phoenix record.

       182.   Because Reich failed to do anything for Dylan’s serious mental health

condition, Dylan was detained in G128, receiving only the regular 30-minute well-being

checks, rather than the closer medical monitoring that Dylan required.

       183.   Upon information and belief, Sherburne County Jail administrators

attempted to conceal Reich’s failures by not interviewing Reich as part of the Sherburne

County Jail investigation into Dylan’s suicide. Reich’s interaction with Dylan in pulling

the phone call was never documented in ANY report.

                                      Sgt. Lindstrom

       184.   Sergeant Travis Lindstrom (“Sgt. Lindstrom”) was supervising Denny and

Reich on the morning of October 7, 2017.

       185.   Sgt. Lindstrom knew that Dylan was being held in BH5.

       186.   Sgt. Lindstrom knew that Dylan was extremely upset following a phone


                                             26
call with his mother and wife, and that Reich took the unusual step of asking Sgt.

Lindstrom for permission to listen to that phone call.

       187.   Despite this knowledge, Sgt. Lindstrom never reviewed any of Dylan’s jail

records, including Dylan’s medical and mental health screens.

       188.   Despite this knowledge, Sgt. Lindstrom failed to initiate any review of

Dylan’s status by medical professionals or ensure that Dylan had ever been seen by

medical personnel, which Dylan had not. Sgt. Lindstrom merely assumed that Dylan had

already been seen by medical personnel at some point, which Dylan had not.

       189.   Despite all of this knowledge obtained by Sgt. Lindstrom, Sgt. Lindstrom

ordered Dylan’s movement to the Gamma Unit, where Dylan would receive a lower level

of monitoring than he needed and had been receiving in BH-5.

       190.   Given all of these circumstances, Sgt. Lindstrom either knew or was

deliberately indifferent to the fact that he was placing Dylan at an increased risk of

suicide.

       191.   Because Sgt. Lindstrom failed to do anything for Dylan’s serious mental

health condition, Dylan was detained in G128, receiving only the regular 30-minute well-

being checks, rather than the closer medical monitoring that Dylan required.

       192.   Upon information and belief, Sherburne County Jail administrators

attempted to conceal Sgt. Lindstrom’s failures by not interviewing Sgt. Lindstrom as part

of the Sherburne County Jail investigation into Dylan’s suicide. Reich and Sgt.

Lindstrom’s interaction with Dylan in pulling the phone call was never documented in

ANY report.


                                             27
                                       Nurse Asfeld

       193.   Kathleen, Dylan’s mother, arrived at the Sherburne County Jail at

approximately 10:00 a.m. on the morning of October 7, 2017.

       194.   Kathleen specifically requested that she be permitted to meet with a nurse

immediately due to her serious concerns about Dylan’s health and well-being, and given

Dylan’s medical history.

       195.   Sherburne County Jail Correctional Officer Thomas Bergeron facilitated a

meeting between Kathleen and MEnD/Sherburne County Jail nurse, Danielle Asfeld

(“Nurse Asfeld”).

       196.   Kathleen informed Nurse Asfeld that Dylan suffered from PTSD and a

severe, traumatic brain injury, and that Dylan had not received his medications since

noon on Friday, October 6, 2017.

       197.   Kathleen presented Nurse Asfeld with several of Dylan’s medical

prescriptions, including medical cannabis, venlafaxine, lamotrigine, cyroheptadine,

lurasidone, and trazodone.

       198.   Nurse Asfeld reviewed the medications to determine if they were for valid

and current prescriptions, determined that they were, and then retained all the

medications provided by Kathleen except for Dylan’s medical cannabis.

       199.   Nurse Asfeld did not accept the medical cannabis, even though she “didn’t

really look at it super closely…” because Nurse Asfeld claimed that the medical

marijuana would need to be handled through a different procedure because it was a


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controlled substance.

       200.   Nurse Asfeld knew that medical cannabis (or marijuana) is prescribed to

war veterans suffering from PTSD, like Dylan, often to suppress suicidal feelings and

behavior

       201.   Nurse Asfeld knew that these medications, by their nature and based upon

her experience and training, were for the treatment of serious mental health conditions,

particularly when the prescribed medications are viewed as a collective whole.

       202.   Upon information and belief, Nurse Asfeld had access to and knew from

the MEnD and/or Sherburne County Jail administrative and medical records and her

interaction with Kathleen, at a minimum that: (a) Dylan had a history of PTSD; (b) that

Dylan had a history of suicidality; (c) Dylan had previously been subjected to close

suicide monitoring at the Sherburne County Jail despite having denied being suicidal; (d)

Dylan left the Sherburne County Jail with a classification of administrative maximum

segregation and on a 30-minute mental health watch that had never been lifted; (e) that

mental health professionals at the Sherburne County Jail, or within MEnD, were

supposed to conduct a mental health follow-up and assessment with Dylan before the 30-

minute mental health watch classification could be removed, but had never done so; (f)

that Dylan was receiving a number of psychiatric and other medications on a daily basis

at the Sherburne County jail during his July/August detention; (g) that a jury had found

Dylan guilty of serious criminal felony charges on October 6, 2017, and that those were

the same charges on which Dylan was previously booked and precipitated his prior

suicidal behavior and subsequent suicidal watch; and (h) that Dylan was suffering from


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drug withdrawal.

       203.   Despite knowing that Dylan had not received any of his prescribed

medications and that Dylan had a history of serious mental health issues including

suicidality, Nurse Asfeld did not even meet with Dylan or suggest that other medical

providers do so to assess Dylan’s serious mental condition.

       204.   Despite knowing that Dylan had not received any of his prescribed

medications and that Dylan had a history of serious mental health issues including

suicidality, Nurse Asfeld did not provide Dylan with any of these prescribed medications.

       205.   Despite knowing that Dylan had not received any of his prescribed

medications and that Dylan had a history of serious mental health issues including

suicidality, Nurse Asfeld did not properly inventory or chart these medications so that

Dylan could receive them in the future or so that the status of his serious mental health

conditions could be assessed.

       206.   Despite knowing that Dylan had not received any of his prescribed

medications and that Dylan had a history of serious mental health issues including

suicidality, Nurse Asfeld did nothing to give the correctional staff at the Sherburne

County Jail additional notice that they should be monitoring Dylan’s mental health

condition.

       207.   Despite knowing that Dylan had not received any of his prescribed

medications and that Dylan had a history of serious mental health issues including

suicidality, Nurse Asfeld did not confer with Dr. Leonard, the supervision physician, to

further assess and address Dylan’s serious medical needs.


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       208.   Because Nurse Asfeld did nothing for Dylan’s serious mental health

condition, Dylan remained detained in G128 receiving only the regular 30-minute well-

being checks, rather than closer medical monitoring.

       209.   Nurse Asfeld did not chart her interaction with Kathleen or her receipt of

Dylan’s medications until October 9, 2017, two days after Dylan’s suicide.

       210.   This untimely charting by Nurse Asfeld is contrary to all generally accepted

medical practices and policies with respect to patient recordkeeping.

                               Officers Graves and Rourke

       211.   Unfortunately, the Sherburne County Jail correctional staff failed to even

conduct the regular 30-minute well-being checks on Dylan properly.

       212.   Sherburne County Jail correctional officer Wes Graves (“Graves”) was

assigned to conduct welfare checks on the Gamma Unit from at least 6:30 a.m. until 2:00

p.m.

       213.   Graves knew that the detainees and/or inmates housed in administrative

maximum security segregation unit were assigned that classification because they, among

other things, presented a higher risk of self-harm.

       214.   Upon information and belief, Graves knew that Dylan was placed in

administrative maximum security segregation because Dylan posed a risk of self-harm.

       215.   Upon information and belief, Graves knew the justification provided for

Dylan’s segregation in the August 1, 2016 Sherburne County Segregation Review (i.e.,

self-harm), and Graves knew that segregation review continued to provide the basis for

Dylan’s administrative maximum security segregation on October 7, 2017.


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       216.   Upon information and belief, Graves knew that Dylan’s segregation status

would not be reviewed by an administrator until October 9, 2017.

       217.   Sherburne County Jail staff observed Dylan as being depressed after his

transfer to G128 on the morning of October 7, 2017, as admitted to by Sherburne County

Jail correctional officer James Rourke (“Rourke”)

       218.   Upon information and belief, Graves, as the officer assigned to conduct the

welfare checks on Dylan, also observed Dylan exhibiting those signs of depression.

       219.   Despite Graves’ knowledge of Dylan’s high risk for self-harm, Graves

failed to properly conduct well-being checks on Brenner on October 7, 2017.

       220.   Rourke was also assigned to the Gamma Unit with Graves on the morning

of October 7, 2017.

       221.   Rourke knew that the detainees and/or inmates housed in administrative

maximum security segregation unit were assigned that classification because they, among

other things, presented a higher risk of self-harm.

       222.   Upon information and belief, Rourke was tasked to either assist or to also

conduct welfare checks on inmates/detainees in the Gamma Unit on October 7, 2017.

       223.   Upon information and belief, Rourke knew that Dylan was placed in

administrative maximum security segregation because Dylan posed a risk of self-harm.

       224.   Upon information and belief, Rourke knew the justification provided for

Dylan’s segregation in the August 1, 2016 Sherburne County Segregation Review (i.e.,

self-harm), and Rourke knew that segregation review continued to provide the basis for

Dylan’s administrative maximum security segregation on October 7, 2017.


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       225.   Upon information and belief, Rourke knew that Dylan’s segregation status

would not be reviewed by an administrator until October 9, 2017.

       226.   Rourke knew that Graves was not conducting proper 30-minute well-being

checks on Dylan and other inmates/detainees in contravention of DOC and Sherburne

County Jail policies and with deliberate indifference to the welfare of Dylan and other

inmates/detainees.

       227.   Rourke did nothing to ensure that Graves conducted proper 30-minute well-

being checks on Dylan, despite knowing that Dylan was at a high risk for self-harm and

personally observing that Dylan was depressed.

       228.   No other members of the Sherburne County Jail correctional staff properly

conducted well-being checks on Dylan on October 7, 2017, to the extent those staff

members had an obligation to do so.

       229.   Graves, Rourke, and/or other Sherburne County Jail correctional staff

regularly failed to conduct proper 30-minute well-being checks of Dylan, missing

multiple 30-minute well-being checks in violation of DOC and Sherburne County Jail

policies and procedures.

       230.   The Sherburne County Jail CMS Activity Log shows that Graves was not

completing his 30-minute well-being checks in accordance with DOC policies, as they

were not staggered and did not occur every 30 minutes.

       231.   On October 7, 2017, Graves was just “going through the motions” of

entering his welfare checks into the log, as the timing of the welfare checks he purported

to performed bore no relation to the times Graves entered into the log.


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       232.   Graves lied about actually performing well-being checks, the timeliness of

his well-being checks, and about the quality of those well-being checks.

       233.   Rourke knew that Graves was lying about the quality and quantity of the

well-being checks Graves proclaims to have performed on October 7, 2017 on Dylan.

       234.   Graves claim to have done a well-being check of Dylan at 1:59 p.m. on

October 7, 2017, but the objective video and medical evidence shows that he did not.

       235.   The last proper observation of Dylan’s well being occurred no later than

1:05 p.m. on October 7, 2017.

       236.   Graves claims that he glanced into Dylan’s cell, G128, at 1:59 p.m. on

October 7, 2017, but he did not.

       237.   Even if Graves did “glance” into Dylan’s cell, that act still would not

constitute a proper well-being check, as a glance is insufficient to properly assess the

health of an inmate in accordance with DOC and Sherburne County policies.

       238.   Graves claims that he observed Dylan standing in his cell at 1:59 p.m. on

October 7, 2017, but he did not.

       239.   Based upon the objective medical evidence, Dylan was hanging from a

sheet tied to his bedpost at 1:59 on October 7, 2017, in the act of committing suicide.

       240.   At 2:19 p.m., Dylan was found hanging, unresponsive from a sheet tied to

the top of his bunk.

       241.   The pooling of blood and other medical evidence observed in Dylan’s body

was consistent with a ligature hanging lasting longer than 30 minutes.

       242.   Dylan showed no signs of life when he was found at or around 2:19 p.m.


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       243.   Dylan’s face was observed as a pale, light blue color at the time he was

found at or around 2:19 p.m.

       244.   Dylan’s declared time of death was 2:23 p.m., on October 7, 2017.

       245.   The cause of death was ligature hanging.

       246.   The manner of death was suicide.

       247.   Ligature hangings in the manner performed by Dylan typically require a

significant period of time to successfully accomplish suicide.

       248.   Had Dylan received proper medical attention, which would have at a

minimum resulted in closer medical monitoring, Dylan more likely than not would not

have died from ligature hanging.

       249.   Had Dylan received his prescribed medications, Dylan more likely than not

would not have died from ligature hanging.

       250.   Had proper well-being checks been conducted of Dylan, Dylan more likely

than not would not have died from ligature hanging.

       251.   On January 4, 2018, the Minnesota Department of Corrections reprimanded

Sherburne County for its failures associated with Dylan’s death:

       Upon review of these reports, video and other documentation I have determined
       that there was a violation of the Chapter 2911 rules in regard to this incident.

       Chapter 2911.5000 subp. 5 requires that all inmates are personally observed by a
       custody staff person at least every 30 minutes, and that these thirty-minute checks
       should be staggered. There was a late well-being check prior to the check that
       discovered inmate Brenner hanging.

        MEnD’s and Sherburne County’s History of Deliberate Indifference

       252.   Dr. Leonard formed MEnD as a professional limited liability company


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(PLLC) on or around May 19, 2008.

       253.    Upon information and belief, Dr. Leonard is and was the sole member of

that PLLC.

       254.    On or around May 15, 2011, Dr. Leonard was reprimanded by the

Minnesota Board of Medical Practice (the “Board”).

       255.    The Board found that, among other things:

               A review of [Dr. Leonard’s] practice revealed that, on multiple
               occasions, [Dr. Leonard] authorized narcotics, but failed to document
               objective clinical findings to support the need for ongoing
               medications; failed to document an assessment for his patients' risk of
               chemical dependency, toxicity, diversion, or suicide; failed to
               document discussions regarding potential side effects of the drugs;
               failed to monitor the efficacy of the medications; failed to implement
               narcotic contracts or conduct biological fluid screens; and failed to
               recognize drug seeking behavior in his patients. [Dr. Leonard] also
               failed to address collateral health concerns or routine health
               maintenance care.

               A review of [Dr. Leonard’s] practice also revealed that [Dr. Leonard]
               failed to appropriately maintain and adequately document his clinic
               records. [Dr. Leonard’s] clinic notes were frequently cursory,
               incomplete, and illegible. [Dr. Leonard] often failed to document a
               diagnosis, adequate patient history, or a rationale for prescribed
               medications. On multiple occasions, [Dr. Leonard] prescribed
               controlled substances for his patients, but failed to adequately
               document the specific name of the medication, authorized quantity, or
               the strength of the medication in the clinic record.

       256.    Since 2008, MEnD has advertised as providing “low cost” care to

correctional facilities.

       257.    Today, MEnD advertises that it has saved “millions of dollars” for its

correctional clients.

       258.    Upon information and belief, MEnD contracted with and was providing its


                                             36
low cost correctional care to over 35 different counties in Minnesota, Iowa, and

Wisconsin as of October 6, 2017, including Sherburne County.

       259.   Upon information and belief, Dr. Leonard was one of few, if not the only,

medical doctor (MD) in October 2017 supervising MEnD employees and overseeing

patient care at facilities in Minnesota.

       260.   Upon information and belief, MEnD provided low cost correctional

medical (including mental health) services at Sherburne County and elsewhere by

engaging in “telemedicine,” where Dr. Leonard was “supervising” his staff and patients

remotely though technological means, regardless of how serious the patient’s medical

needs were.

       261.   Upon information and belief, in October 2017 Dr. Leonard spent less than

ten percent of his time meeting in person with the correctional patients he claimed to be

treating and supervising.

       262.   The lack of appropriate medical and mental health supervision and services

provided by MEnD before and after October 2017 is well documented.

       263.   Multiple inmates receiving medical care have committed suicide as a result

of MEnD’s deliberate indifference, including but not limited to the 2010 suicide of Josh

Holscher and the November 2017 suicide of James C. Lynas, which occurred at the

Sherburne County Jail approximately one month after Dylan’s suicide. In 2016, MEnD

paid $850,000 to resolve claims of deliberate indifference against MEnD and Dr. Leonard

for the 2010 suicide of Kyle Allan Baxter-Jensen. See Baxter-Knutson v. Brandt et al,

Case No. 14-cv-03796 (ADM/LIB). Many more inmates have inflicted serious self-harm


                                            37
as a result of MEnD’s deliberate indifference.

         264.   The U.S. Department of Homeland Security Office of Detention Oversight

(“ODO”) conducted compliance inspection at the Sherburne County Jail in 2010 and

2014, since Sherburne County generates revenue by housing federal prisoners/detainees.

In both 2010 and 2014, the ODO observed that nurses at the Sherburne County Jail

discontinues suicide watches without proper authorization by the clinical director.

         265.   Sherburne County’s failures with respect to its deliberate indifference

towards conducting proper welfare checks was also recognized in its biennial facility

inspection report, which covered the years 2016 through 2018, finding that “A review of

video footage showed a number of well-being checks that were completed at too fast a

pace.”

         266.   Sherburne County’s deliberate indifference towards suicide watches and

welfare checks not only, in part, caused Brenner’s suicide, but also caused Lynas’ suicide

as well.

         267.   Sherburne County compounded its own unconstitutional practices by

employing MEnD to provide medical services at the Sherburne County Jail in 2017,

despite Sherburne County’s nondelegable duty to provide medical care to its

inmates/detainees and despite Sherburne County’s final policymakers knowing about

MEnD’s track record of providing constitutionally deficient medical care to the

inmates/detainees in its care.




                                              38
                                          Count One

                                    42 U.S.C. § 1983
                     Eighth and Fourteenth Amendment Violations
       Plaintiffs v. Nurse Asfeld, Nurse Bauman, Nurse Leonard, Dr. Leonard,
Lucar, Denny, Graves, Rourke, Reich, and Lindstrom, all in their individual capacities

       268.     Plaintiffs reallege and incorporate each preceding allegation as if set forth

fully herein.

       269.     Dylan suffered from serious medical needs.

       270.     The Defendants named in this Count owed Dylan a duty to provide for

Dylan’s medical needs, safety, and general welfare.

       271.     The Defendants named in this Count knew that Dylan had serious medical

needs that created a high risk of harm, including suicide, if not properly assessed,

addressed, and monitored.

       272.     The Defendants named in this Count, under color of state law, acted with

deliberate indifference to Dylan’s serious medical needs in several manners, as detailed

herein and as shall be set forth with additional discovery.

       273.     Plaintiffs allege in the alternative that each of these Defendants knew that

Dylan was suffering from these constitutional violations, had a realistic opportunity to

intervene to stop these constitutional violations, but failed to intervene either maliciously

or with reckless disregard for whether Dylan’s rights would be violated.

       274.     As a result, the Defendants named in this Count engaged in conduct that

was in violation of the Eighth and/or Fourteenth Amendments to the United States

Constitution.



                                              39
       275.   Dylan died as a direct and proximate result of acts and omissions by the

Defendants named in this Count.

       276.   As a direct and proximate result of the acts and omissions by the

Defendants named in this Count, Dylan sustained compensatory and special damages as

defined under federal common law and in an amount to be determined by jury.

       277.   Punitive damages are available against the Defendants named in this Count

and are hereby claimed as a matter of federal common law pursuant to Smith v. Wade,

461 U.S. 30 (1983).

       278.   Plaintiffs are entitled to recovery of their costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

       279.   The conduct described in all of the preceding paragraphs amount to

wrongful acts and omissions for purposes of Minnesota Statute Section 573.02,

subdivision 1.

       280.   As a direct and proximate result of these wrongful acts and omissions,

Dylan’s next of kin have suffered pecuniary loss, including medical and funeral expenses,

loss of aid, counsel, guidance, advice, assistance, protection, and support in an amount to

be determined by jury.

                                        Count Two

                                   42 U.S.C. § 1983
       Eighth and Fourteenth Amendment Violations – Supervisory Liability
                 Plaintiffs v. Dr. Leonard in his individual capacity


       281.   Plaintiffs reallege and incorporate each preceding allegation as if set forth



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fully herein.

         282.   Dr. Leonard owed Dylan a duty to provide for Dylan’s medical needs,

safety, and general welfare.

         283.   Dr. Leonard knew that Dylan had serious medical needs that presented a

high risk of harm if not addressed.

         284.   Dr. Leonard acted under color of state law, as detailed above.

         285.   Dr. Leonard had notice that his subordinates engaged in a pattern of

deliberate indifference to the serious medical needs of inmates/detainees, including

Dylan.

         286.   Dr. Leonard was deliberately indifferent to or authorized his subordinates’

deliberate indifference to the serious medical needs of inmates/detainees, including

Dylan.

         287.   Dr. Leonard engaged in conduct that was in violation of the Eighth and/or

Fourteenth Amendments to the United States Constitution.

         288.   Dylan died as a direct and proximate result of Dr. Leonard’s acts and

omissions.

         289.   As a direct and proximate result of Dr. Leonard’s acts and omissions, Dylan

sustained compensatory and special damages as defined under federal common law and

in an amount to be determined by jury.

         290.   Punitive damages are available against Dr. Leonard and are hereby claimed

as a matter of federal common law pursuant to Smith v. Wade, 461 U.S. 30 (1983).

         291.   Plaintiffs are entitled to recovery of their costs, including reasonable


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attorneys’ fees, under 42 U.S.C. § 1988.

       292.     The conduct described in all of the preceding paragraphs amount to

wrongful acts and omissions for purposes of Minnesota Statute Section 573.02,

subdivision 1.

       293.     As a direct and proximate result of these wrongful acts and omissions,

Dylan’s next of kin have suffered pecuniary loss, including medical and funeral expenses,

loss of aid, counsel, guidance, advice, assistance, protection, and support in an amount to

be determined by jury.

                                         Count Three

                                  42 U.S.C. § 1983
           Eighth and Fourteenth Amendment Violations – Monell Liability
    Plaintiffs v. MEnD, Dr. Leonard in his official capacity, and Sherburne County

       294.     Plaintiffs reallege and incorporate each preceding allegation as if set forth

fully herein.

       295.     MEnD, Dr. Leonard, and Sherburne County acted under color of state law,

as detailed above.

       296.     On, prior to, and after October 7, 2017, MEnD and its final policymakers

such as Dr. Leonard, with deliberate indifference to the rights of Dylan and other

similarly situated inmates/detainees, tolerated, permitted, failed to correct, promoted, or

ratified a number of customs, patterns, or practices that that failed to provide for the

serious medical needs, safety, well-being, and welfare of inmates/detainees that presented

with serious mental health concerns, including suicidality.

       297.     On, prior to, and after October 7, 2017, Sherburne County had a non-


                                               42
delegable constitutional duty to provide medical care to the detainees/inmates in its

custody.

       298.   On, prior to, and after October 7, 2017, Sherburne County had notice of

MEnD’s constitutionally deficient medical care and unconstitutional customs and

practices, yet with deliberate indifference to the rights of Dylan and other similarly

situated inmates/detainees, employed MEnD and allowed MEnD to provide

constitutionally deficient medical care to Sherburne County Jail detainees/inmates.

       299.   The unconstitutional customs and practices were the moving force behind

Dylan’s suicide and the violation of his constitutional rights.

       300.   Dylan died as a direct and proximate result of acts and omissions by the

Defendants named in this Count.

       301.   As a direct and proximate result of the acts and omissions by the

Defendants named in this Count, Dylan sustained compensatory and special damages as

defined under federal common law and in an amount to be determined by jury.

       302.   Plaintiffs are entitled to recovery of their costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

       303.   The conduct described in all of the preceding paragraphs amount to

wrongful acts and omissions for purposes of Minnesota Statute Section 573.02,

subdivision 1.

       304.   As a direct and proximate result of these wrongful acts and omissions,

Dylan’s next of kin have suffered pecuniary loss, including medical and funeral expenses,

loss of aid, counsel, guidance, advice, assistance, protection, and support in an amount to


                                             43
be determined by jury.

                                          Count Four

                       Wrongful Death - Professional Negligence
        Plaintiffs v. Nurse Asfeld, Nurse Bauman, Nurse Leonard, Dr. Leonard,
                             MEnD, and Sherburne County

       305.     Plaintiffs reallege and incorporate each preceding allegation as if set forth

fully herein.

       306.     The Defendants in this Count may be classified as health care providers

under Minnesota law.

       307.     These Defendants deviated from the professional standard of care in their

treatment of Dylan, as detailed herein and as shall be set forth with additional discovery.

       308.     Plaintiffs have supplied a declaration of expert review pursuant to

Minnesota Statute 145.682, subd. 4.

       309.     MEnD is directly liable for its failure to establish proper policies and

procedures related to mental health screening and the monitoring of inmates and

detainees at the Sherburne County Jail who are or should be known to be at a high risk

for suicide.

       310.     MEnD is vicariously liable for the acts of the individual defendants named

in Count Two, as those employees were working within the course and scope of their

duties as MEnD employees.

       311.     Sherburne County is directly liable for its failure to establish proper

policies and procedures related to mental health screening and the monitoring of inmates

and detainees at the Sherburne County Jail who are or should be known to be at a high


                                               44
risk for suicide.

       312.     Sherburne County is vicariously liable for the acts of the individual

defendants named in Count Two, and vicariously liable for the acts of MEnD, as

Sherburne County has a nondelegable duty to provide health care to the inmates and

detainees at the Sherburne County Jail.

       313.     These deviations from the professional standard of care directly and

proximately caused Dylan’s death.

       314.     The conduct described in all of the preceding paragraphs amount to

wrongful acts and omissions for purposes of Minnesota Statute Section 573.02,

subdivision 1.

       315.     As a direct and proximate result of these wrongful acts and omissions,

Dylan’s next of kin have suffered pecuniary loss, including medical and funeral expenses,

loss of aid, counsel, guidance, advice, assistance, protection, and support in an amount to

be determined by jury.

                                          Count Five

                               Wrongful Death - Negligence
                           Graves, Rourke, and Sherburne County

       316.     Plaintiffs reallege and incorporate each preceding allegation as if set forth

fully herein.

       317.     The Defendants named in this Count owed Dylan a duty to provide for

Dylan’s well-being and safety.

       318.     The Defendants named in this Count knew or should have known that



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Dylan was at a high risk of suicide, given his prior medical history and current medical

condition.

       319.   It is foreseeable that inmates and detainees who are not properly screened,

monitored, or supervised, such as Dylan, pose a danger to themselves, including a risk of

suicide. This is precisely why well-being checks are required. This is particularly true

with respect to inmates placed in administrative maximum security segregation due to a

risk of self-harm.

       320.      The Defendants named in this Count failed numerous ministerial duties,

including: (a) failing to maintain Dylan on the required 30-minute special mental health

checks; (b) failing to maintain Dylan in a cell where he was not appropriately monitored

for suicidality; and (c) failing to conduct appropriate well-being checks.

       321.   The Defendants named in this Count breached each of these ministerial

duties and otherwise failed to act reasonably, as detailed herein and as shall be set forth

with additional discovery.

       322.   Sherburne County is directly liable for its failure to establish and/or enforce

policies and procedures to ensure proper monitoring of Sherburne County Jail

detainees/inmates.

       323.   Sherburne County is vicariously liable for the negligent acts and omissions

of Graves and Rourke as described within this Fourth Amended Complaint.

       324.   The conduct described in all of the preceding paragraphs amount to

wrongful acts and omissions for purposes of Minnesota Statute Section 573.02,

subdivision 1.


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       325.   These wrongful acts and omissions directly and proximately caused

Dylan’s death.

       326.   As a direct and proximate result of these wrongful acts and omissions,

Dylan’s next of kin have suffered pecuniary loss, including medical and funeral expenses,

loss of aid, counsel, guidance, advice, assistance, protection, and support in an amount to

be determined by jury.

                                    Prayer for Relief

       WHEREFORE, Plaintiffs hereby pray for judgment against Defendants as follows:

       1.     As to Count One, a money judgment against Nurse Asfeld, Nurse Bauman,

Nurse Leonard, Dr. Leonard, Lucar, Denny, Reich, Lindstrom, Graves, and Rourke for

compensatory, special, and punitive damages in an amount to be determined by jury,

together with costs, including reasonable attorneys’ fees, under 42 U.S.C. § 1988 and

prejudgment interest, in addition to compensatory damages for the next of kin in an

amount to be determined by jury;

       2.     As to Count Two, a money judgment against Dr. Leonard for

compensatory, special, and punitive damages in an amount to be determined by jury,

together with costs, including reasonable attorneys’ fees, under 42 U.S.C. § 1988 and

prejudgment interest, in addition to compensatory damages for the next of kin in an

amount to be determined by jury;

       3.     As to Count Three, a money judgment against MEnD, Dr. Leonard, and

Sherburne County for compensatory and special damages in an amount to be determined

by jury, together with costs, including reasonable attorneys’ fees, under 42 U.S.C. § 1988


                                            47
and prejudgment interest, in addition to compensatory damages for the next of kin in an

amount to be determined by jury;

      4.     As to Count Four, a money judgment against Nurse Asfeld, Nurse Bauman,

Nurse Leonard, Dr. Leonard, MEnD, and Sherburne County for compensatory damages

for the next of kin in an amount to be determined by jury, together with costs and

prejudgment interest.

      5.     As to Count Five, a money judgment against Defendants Graves, Rourke,

and Sherburne County for compensatory damages for the next of kin in an amount to be

determined by jury, together with costs and prejudgment interest.

      6.     All other relief this Court deems just and equitable

PLAINTIFFS HEREBY DEMAND A TRIAL BY JURY.

Dated: November 1, 2020

NEWMARK STORMS DWORAK LLC                        SIEBENCAREY, P.A.

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                                            48
